Case 3:18-cv-00035-MHL-DJN Document 19 Filed 09/14/18 Page 1 of 1 PageID# 185




                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                                Richmond Division

DOCX BILLING SOLUTIONS, LLC,

              Plaintiff,

v.                                                             Civil Action No. 3:18cv35

GENETWORx LLC, et al.,

              Defendants.
                                            ORDER

       This matter is before the Court on the Report and Recommendation of the Magistrate

Judge (the "R&R") entered on August 30, 2018. (ECF No. 18.) The time to file objections has

expired and no party has objected to the R&R. Having considered the matter and deeming it

otherwise proper and just to do so, it is hereby ORDERED:

       (1)    The R&R, (ECF No. 18), is ADOPTED as the opinion of this Court;

       (2)    Plaintiff's Motion to Remand, (ECF No. 8), is GRANTED; and

       (3)    This action is REMANDED to the Henrico County Circuit Court.

       Let the Clerk send a copy of this Order to all counsel of record.

       It is so ORDERED.




                                                                      M.H


Date: q· I // t
           /L/
Richmond, Virginia
